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                                                                                    FILED

                       IN THE UNITED STATES DISTRICT COURT
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                      FOR THE W ESTERN DISTRICT OF VIRGFNIA                  JULI
                                                                                A-C.DUDL ,CLERK
                            CHARLOTTESVILLE DIVISION                        BY;X'
                                                                                D''UW LE

M ARIA DEL PILAR PO SE BEIR O,

       Plaintiff,                                CivilAction No.3:18CV00088

                                                 M EM OR ANDUM O PINION

CFA W STITUTE,                                   By:Hon.Glen E.Conrad
                                                 SeniorUnited StatesDistrictJudge
       Defendant.


       M ada DelPilarPose Beiro,proceeding pro K and Lq formapauoeris,filed thisaction
                                                  .




against CFA Instimte. The case is presently before the courton the defendant's m otion to

dism iss. Forthereasonssetforth below,the courtwillg'
                                                    rantthedefendant'sm otion.

                                       Backzround

       Thefollowingfactsaretakerèfrom thecomplaintandthewritten settlementagreementon

whichitexplicitlyrelies. SeePhillipsv.LCIInt'l.Inc.,190F.3d609,618(4thCir.1999)(noting
thatthe courtcould properly consider a docllment subm itted by the defendantin determ ining

whether to dismiss the com plaint çsbecause it was integralto and explicitly relied on in the

complainf).
       The plaintiffresidesin London,England. In Augustof2016,she enrolled in the CFA

Program offered through the defendantin Charlottesville,Virginia. Theplaintifftook theLevel

11CFA Exam in Jtme of2017. W hen theresultswerennnounced inAugustof2017,theplaintiff

lenrnedthatshehad failed theexnm .

       Both beforeandaftertheplaintiffreceivedherexnm score,theplaintiffvoiced anllmberof

complaintsto the defendant's customçr service tenm . For instance,she çomplained that%svery




 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 1 of 8 Pageid#: 84
poorfacilities''wereprovided during the exnm ,thatthere wasaone-week delay in receiving her

exnm score,and thatthecustom erservicetenm did nottim ely respond to heremails. Compl.6,

Dlct.N o.6. On August4,2017,the plaintiffreceived a telephone callf'
                                                                   rom 1EM r.Kaisery''a

customerservicerepresentative,regarding hercomplaints. The plaintiffallegesthatM r.Kaiser

verbally agreedto changetheresultofherexnm toapassing scoreifshew ould stop complaining:

                Heaskedm ehow Iwanted to resolvethematter;Srst1askedforan
                exam feerefnndthatwasrejectedbyhimjthenIaskedforachange
                ofm ark ofmy exam to $apass'....M r.Kaiserthen said thathe
                would be able to help me mld offered m e a retabulation. Iknew
                whata retabulation wasand suggested thatthiswasnotenough. I
                wanted aregrade. Mr.Kaiseraqeedtogetmearepadeofmy
                exam toapassif1stoppedcomplalning. Iagreeldqandheagreed
                tocallmeback onthe7thlofjAugusttoconfirm completion.
Id
=

          Theplaintiffsubsequently informedthedefendantofherconversationwithM r.Kaiserand

advisedthedefendantthatshehadrecordedthephonecallin whichM r.K aiserhadverballyagreed

to giveherapassingscoreon theexnm . Theplaintiffsubsequently received an em ailfrom Geoff
      .




M acdonald,legalcotm selforthedefendant. In theem ail,M r.M acdonald disputedtheplaintiffs

assertions and requested thatshe provide a copy ofthe purported recording ofherconversation

withM r.Kaiser. TheplaintiffallegesthatsheS'feltthat(M r.M acdonald)wastryingtointimidate
Eherl,''and that çGhe wanted to dnmage (herj reputation saying that Esheq was telling false
statem ents.'' Id.7.

          OnAugust23,2017,theplaintiffadvisedthedefendantviaem ailthatshewasçGplnnningto

bringthiscaseto Sm allClaim sCourt''ifthe partiesweretmableto reach an agreem entregarding

the ççmisleading infonnation provided''by the defendant and its agents. JZ In response,
members ofthe defendant's Sçprofessional Conduct departm ent''advised the plaintiffthatthey

were ttopening an investigation formisrepresentation,''based on the beliefthattheplaintiffhad

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 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 2 of 8 Pageid#: 85
submitted a Gçfalseinvoice''requesting a reftmd ofherexam fee. Id.7-8. Theplaintiffalleges

that the investigation was tmdertaken to intim idate her, dnm age her reputation, and inflict

psychologicalhann,andthatitappearedtobeaçtconspiracy''againsther. Seeid.at8($çIallege
thatM r.Jason Kaiser and M .
                           1..Geoff M acdonald collaborated with the Professional Conduct,

during August2017,to open an investigation. This seem s a conspiracy againstme.
                                                                   .          ''). The
investigation w asclosed on Janumy 11,2018,atwhich time SdprofessionalConductdid not5nd

gtheplaintiftlguiltyofmisrepresentation-'' Id.8.
        Three daysbeforetheinvestigation ended,the plaintifffiled suitagainstthedefendantin
the GeneralDistrictCourtforthe City ofCharlottesville. Theplaintiffclaim sthat,by thattime,

herSlreputationafworkwasdnmaged.'' J#=. Becausetheplaintiffdidnotreceiveapassingscore
ontheexam andwasthesubjectofaninvestigationbythedefendant,theplaintifflostincomeand
ççhadtoleaveEherqwork.'' J#a.;seealsoii 10(notingthattheplaintic smanagerthoughtshewas
a(ijjgtyNN;.
        ThepM ieswerescheduled to appearin state courton Jtme22,2018. On Jtme 20,2018,

the defendantpresented the plaintiffwith a written settlem entap eem ent,through which the

defendant soughtto Sçresolve any and a1lclaims against CFA Institute and/or its employees,''

including theclaim filed in the GeneralDistrictCourtfortheCity ofCharlottesville. Settlem ent

Agreement 1,Def.'s Ex. 1,Dkt.No.9-1; see also Compl. 11 (discussing the settlement
agreement). ThewrittenagreementprovidedthatCFA Institutewaswillingtooffertheplaintiff
çEasettlementinthenmountof$750 (theeqtlivalentofareftmdof(her)exnm feesfor2017,plus
$100),andinadditionano-feeretabulationof(theplaintiY s)answersheetfortheJune2017CFA
Program Exnm,Level 11,''if the plaintiff agreed to the remaining provisions and signed the

agreement within 24 hours. Settlem ent A greement 1. Both parties signed the settlem ent




 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 3 of 8 Pageid#: 86
agreem enton Jtme21,2018. Undertheterm softhe agreem ent,theplaintiffagreed to withdraw

ordijmissany pending com plaintoraction againstCFA Institute,and çGreleaseany claim against

CFA Institute and related persons or entities as setforth above arising from (the plaintiffsq
participation in the CFA Progrnm ortheprovision ofcustomerserviceto Ethe plaintiffj.'' Id.
Theagreem entemphasizedthatthereleaseprovision would applyto tsallclaims''theplaintiffhad

ormay havehad,çtwhetherlcnown orllnknom w''asofthedateshe signed the agreement. JZ
The agreem entfurtherprovided thatit contained çGthe entire tmderstanding ofthe parties with

respecttothesubjectmatterhereof,''thatittssupersedeld)a11priortmderstandingsoragreements,
oralorm itten,with respectthereto,''andthatitGûshallbe govem ed by and construed according to

thelawsoftheComm onwea1th ofVirginiaandshallbebindingupon theparties,theirsuccessors,

assignsand heirs-'' Id.2.

       On September24,2018,theplaintiffcomm enced the instantaction againstCFA lnstitute

by filing a fonn çGcom plaintfora civilcase alleging breach of conkact.'' Compl.1. Liberally

construed,thecomplaintappearsto assertthatCFA Institutebreachedthe verbalagreem entwith

M r.Kaiserand them itten settlem entagreementby failing to change herexnm gradeto apassing

score. Theplaintiffalso indicatesthatsheisasserting two additionalcausesofaction:Stplnitive

damagesforbreach ofcontract''andSçbreachofcontractaccompaniedbywillfultolt'' L4=6.      .




       The defendanthasmoved to dismissthe complainttmderRule 120946)ofthe Federal
RulesofCivilProcedure. Thedefendant'sm otionhasbeen fully briefed bythepartiesandisripe

forreview .

                                     Standard ofR eview

       Rule12(b)(6)oftheFederalRulesofCivilProcedtlrepermitsapartytoseekdismissalfor
faillzre to state a claim upon which relief can be granted. W hen deciding a m otion to dism iss


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 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 4 of 8 Pageid#: 87
tmderthisrule,thecourtmustacceptastnze al1well-pleaded allegationsand draw a11reasonable

factualinferencesintheplaintiffsfavor. Ericksonv.Pardus,551U.S.89,94(2007). fçW hilea
complaintattackedbyaRule120946)motiontodismissdoesnotneeddetailedfactualallegations,
aplaintiffsobligation toprovide the grotmdsofEherqentitlementto reliefrequiresmore than
labelsandconclusions,and aformulaicrecitation oftheelem entsofacauseofaction willnotdo.''

BellAtl.Com .v.Twombly,550 U.S.544,555 (2007)(internalcitation and quotation marks
omitted). To survivedismissalforfailureto stateaclaim,G$acomplaintmustcontain suftkient
facm alm atter,accepted astnle,to çstate aclaim forreliefthatisplausibleon itsface.''' Ashcroft

v.lqbal,556U.S.662,678(2009)(quotingTwombly,550U.S.at570).
                                         Discussion

       The defendants have moved to dismissthe complainton severalgrounds,including the

following:(1)the plaintiffs claim forbreach of an alleged oralagreementis barred by the
settlementagreement;(2)theplaintifffailstostateaclaim forbreachofthesettlementagreement;
and(3)theplaintifffailstostateaclaim fors&willfultort.'' Forthefollowingreasons,thecourt
çoncludesthata1lthreeargllm entshavem erit.

       CFA Institute firstarguesthatany claim based on an alleged oralcontractin Augustof

2017 isbarredby thewritten settlem entagreem ent. UnderVirginialaw ,Sçsettlem entagreem ents

aretreated ascontractssubjectto the generalprinciplesofcontractinterpretation.'' Byrum v.
Bearlnv.Co.,936 F.2d 173,175 (4th Cir.1991). Thus,Sdthepreclusive effectofa settlement
agreem ent should be m easured by the intentofthe parties.'' Olzio Valley Envtl.Coalition v.

Azacoma CoalCo.,556 F.3d 177,211 (4th Cir.2009)(citation and intemalquotation marks
omitted);seealsùFirstSec.Fed.Sav.Bnnk.Inc.v.M couilken,480 S.E.2d485,487 (Va.1997)
(çç-
   f'
    hescopeofareleaseagreement,likethetermsofany contract,isgenerally governedby the


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 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 5 of 8 Pageid#: 88
expressed intention oftheparties.'l. StW heretheparties'intentisclearfrom theunnmbiguous
termsofthecontract,construed asawhole,(thecourtqneed notand carmotresortto extrinsic
evidenceofintent'' Balav.Va.Dep'tofConservation& Recreation,614F.App'x 636,639(4th
Cir.2015)(citationsomitted);seealsoSweelyHoldingssLLC v.Stm-l-rustBnnk,820 S.E.2d596,
602 (Va.2018)(çGW ordsmatter,and wordsin a contract,when clear,supersede unarticulated
intentions-').
       Uponreview ofthesettlementagreem ent,thecourtconcludesthatitbarsany claim related

tothealleged oralcontract9om Augustof2017. By signingthewritten agreem entand accepting

a settlem entin the amountof $750.00,the plaintiff agreed to ççrelease any claim ''againstthe
defendantçtarising f'
                    rom gher)participation in the CFA Program orthe provision ofcustomer
service''to theplaintiff. Settlem ehtAgreem ent1. Theplaintiffacknowledged thatthe release

would apply to ççallclaim s''shel'may have,whetherknown orlmknown,''asofthedateon which

shesignedtheagreement. JZ Theplaintifffurtheracknowledgedthatthesettlementagreement
containedtheGçentiretmderstandingoftheparties''andSçsupersedeldqal1priortmderstandingsor
agreements,oralorwritten.'' 1(J=at2. Basedontheplain languageofthesettlementapeement,
theplaintiffcleady waivedtherightto pursuehercurrentclaim forbreach oforalcontract,since

such claim arises f'
                   rom the plaintiY s participation in the CFA Progrnm and is based on an

agreem entor tm derstanding thatpredated the written settlem ent agreement. A ccordingly,the

claim forbreach oforalcontractissubjecttodismissaltmderRule12(b)(6).
       Thecourtlikew ise concludesthatthe plaintifffailsto state a claim forbreach ofthe w ritten

settlem entagreem ent. The plaintiffdoes notallege thatCFA Instimte failed to mtabulate her

answer sheetorpay her$750.00,asrequired tmdertheplain term softhe settlem entagreem ent.
                                               q
                                                                                    ,
Instead,thisclaim also appearsto bebased on thefactthatthedefendantdidnotchangeherexam


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 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 6 of 8 Pageid#: 89
resulttoapassing score. However,theplain language ofthesettlem entagreem entdem onstrates

thatthe CFA Institute owed theplaintiffno such obligation. The plaintiffacknowledges in the

complaintthatshe tmderstood the difference between a tsretabtllation''and a iEregrade ...to a

pass.'' Compl.6. AlthoughtheCFA Instituteofferedtoperform alsno-feeretabulation of(the
plaintiffsjanswersheet''thedefendantdidnotagreetochangeherexam resulttoapassingscore.
SettlementAgreem ent1. W hile the plaintiffis obviously dissatissed with the outcome ofthe

retabulation and, in hindsight, might have insisted on different contracm al terms, the plain

language ofthe settlem entagreem entcontrols. See Babcock & W ilcox Co.v.Areva NP.J.
                                                                                   nc.,

788 S.E.2d237,249-50 (Va.2016)(ç$Itisthecourt'sduty to declarewhattheinstrumentitself
saysitsays. (W jhatthepartiesclaim theymighthavesaid,orshouldhavesaid,cnnnotalterwhat
they acmally said.'') (alteration in original) (citation and internal quotation marks omitted).
Because the plaintiY s claim for breach ofthe settlement agreem ent contlicts with the plain

languageofthe contract,thisclaim m ustbedismissed.*

        Finally,the cottrtagreeswith the defendantthatthe com plaintfailsto state a claim for

sçwillf'
       ultort.'' Compl.6. In her briefin opposition,the plaintiffappearsto indicate thattllis

claim isbased on an alleged tGconspiracy''on thepm'tofseveralofthedefendant'semployeesto

underm ineherability to work in the snancialindustry. To the extentthattheplaintiffasserts a

claim forcivilconspiracy,such claim issubjectto dismissalforatleasttwo reasons. First,the
plaintiff does not allege that the defendant's employees conspired with anyone outside the

com pany oroperated outsidethe scope oftheiragency. Consequently,theclaim isbarred by the

intracom orateimmunity doctrine,underwhich Gçactsofcop orateagentsareactsofthecorporation


        *In lightofthecourt'sconclusionthattheplaintisfailstostateaclaim forbreachofcontract,thecourtneed
notaddresstherequestforpunitive damagesassociated with the contractclaims. Nonetheless,thecourtnotesthat
S%ltqhereisastrong presumption in Virginiaagainstawarding ptmitivedamagesforbreach ofcontract'' Cancun
AdvenmreTom'   s.Inc.v.UnderwaterDesianerCo..862F.  2d1044,1048(4thCir.1988)(collectingcases).


 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 7 of 8 Pageid#: 90
itselt and corporateemployeescnnnotconspirewitheach otherorwiththecorporatiom'' eplus
Tech..Inc.v.Aboud,313F.3d 166,179(4thCir.2002);seealsoRosenthalv.R.W .SmithCo.,260
F.Supp.3d 588,593-94(W .D.Va.2017)'çlr
                                     flherecnnnotbeaconspiracybetweenagentsofa
corporation operating within thescopeoftheirduties.'). Second,acivilconspiracy claim also
requiresproofthatan Gsunderlying tortwascomm itted.'' Almy v.Grisham ,639 S.E.2d 182,188

(Va.2007);see also Ten'
                      y v.StmTrustBnnks.Inc.,493 F.App'x 345,357 (4th Cir.2012)
(explainingthatthesistmlawfulact'element''ofacivilconspiracyclaim çirequiresthatamember
oftheallegedconspiracyhavetcommitted'an Glmderlyingtort'''). Becausetheplaintiffdoesnot
identify any tmderlying tortcom mitted by the defendant's employees,herconspiracy claim also

failson thisgrotm d.

                                        C onclusion

       Forthereasonsstated,thecourtwillgrantthedefendant'sm otion to dismiss. TheClerk is

directed to send copiesofthismem orandllm opinion and theaccompanying orderto the plaintiff

and al1counselofrecord.
       DATED           +>
               :This        day ofFebnzary,2019.




                                            SeniorUnited StatesDistrictJudge




                                             8
 Case 3:18-cv-00088-GEC Document 17 Filed 02/04/19 Page 8 of 8 Pageid#: 91
